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UNITED STATES I)ISTRICT COURT
SOUTI'IERN DISTRICT OF NEW YORK

 

AUGUSTO ARRO}O,
Plaintif`f. l?-CV-04625 (J FM}
STIPULATION
~against-

BB MANAGEM ENT OF NEW YORK CORP.,
AND LANFRAN REALTY CORP.,

Dci`endants.

X

 

lt is hereby agreed by Dcl"endants BB MANAGEMENT OF NEW YORK CORP., and
LANFRAN REALTY CORP. (collectively “Det`endants") and Plaintiff Augusto Arrojo
("Plaintil`i") as follows:

l. The Def`endants shall pay to Augusto Arrojo the total sum ot` nine thousand nine
thousand ($9,000.00) dollars t`or attorncy’s fees and costs. Said monies shall be paid by a check
payable to Plaintiff"s attomey. The Deferttlants shall be remit such monies to Plaintifi`s attorney
within ten (10) days after the Court approves this Stipu|ation.

2. This action shall be discontinued with prejudice 'l`hc Plaintifl` shall have the right
to re-opcn the case within thirty (30) days after the Court approves this stipulation if the monies in
paragraph l are not remitted to P|aintift"s attomey.

3. The Plaintiff`s attorney will tile a satisfaction oi`jtldgment' to satisfy the judgment

entered against the Def`endants by the Plaintif`t".

Dmcd; Ncw Yort, NY }Zé{/j/l]i /WM@M

February@, 2018 Stuart Weinberger Esq.

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Dated: Queens, New York
February 6, 2018

So Ordered:

 

U.S.D.J.

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